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Defendant: JOHN HODOWANIAC a/k/a JOHN HODOWANIEC                                              Page 1 of 7
Case Number: 3:12cr112-001


                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF INDIANA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                        Case Number 3:12cr112-001

                                                          USM Number 12424-027
JOHN HODOWANIAC a/k/a
JOHN HODOWANIEC
               Defendant
                                                          H JAY STEVENS - FCD
                                                          Defendant’s Attorney
___________________________________

                                JUDGMENT IN A CRIMINAL CASE

THE DEFENDANT pleaded guilty to count 1 of the Indictment on 11/16/2012.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):

                                                              Date Offense             Count
          Title, Section & Nature of Offense                     Ended               Number(s)


  18:844(i) ATTEMPTED ARSON OF A VEHICLE                     October 3, 2012              1

The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

Count 2 of the Indictment is dismissed on the motion of the United States as to this defendant only.

IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant must notify the court and United States Attorney of any material change in economic
circumstances.
                                                   February 21, 2013
                                                   Date of Imposition of Judgment

                                                   s/ Jon E. DeGuilio
                                                   Signature of Judge

                                                   Jon E. DeGuilio, United States District Judge
                                                   Name and Title of Judge

                                                   February 22, 2013
                                                   Date
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                                          IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons
to be imprisoned for a total term of 60 months.

          The Court makes the following recommendations to the Bureau of Prisons: That the Bureau
of Prisons designate as the place of the defendant's confinement, if such placement is consistent
with the defendant's security classification as determined by the Bureau of Prisons, a facility where
he may receive substance abuse counseling and treatment, in particular, the RDAP Program; a
facility that can accommodate the defendant’s medical needs, particularly two aortic aneurysms;
and that the defendant be placed in a facility as close as possible to his family in South Bend,
Indiana.


        The defendant is remanded to the custody of the United States Marshal.



                                               RETURN

I have executed this judgment as follows:

        Defendant delivered                              to                         at
        , with a certified copy of this judgment.



                                                                      UNITED STATES MARSHAL


                                                        By:
                                                           DEPUTY UNITED STATES MARSHAL
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                                     SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of 3
years.

The defendant shall report in person to the probation office in the district to which the defendant is
released within 72 hours of release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain
from any unlawful use of a controlled substance.

The defendant shall submit to one drug test within 15 days of release from imprisonment and two
(2) periodic drug tests thereafter, as determined by the Court.

The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous
weapon.

The defendant shall cooperate in the collection of DNA as directed by the probation officer.
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                        STANDARD CONDITIONS OF SUPERVISION

1.      The defendant shall not leave the judicial district without the permission of the Court or
        probation officer.
2.      The defendant shall report to the probation officer in the manner and as frequently as
        directed by the Court or probation officer.
3.      The defendant shall answer truthfully all inquiries by the probation officer and follow the
        instructions of the probation officer.
4.      The defendant shall support his dependents and meet other family responsibilities.
5.      The defendant shall work regularly at a lawful occupation unless excused by the probation
        officer for schooling, training, or other acceptable reasons.
6.      The defendant shall notify the probation officer within ten (10) days of any change in
        residence or employment.
7.      The defendant shall refrain from excessive use of alcohol and shall not purchase, possess,
        use, distribute, or administer any narcotic or other controlled substance, or any
        paraphernalia related to such substances, except as prescribed by a physician.
8.      The defendant shall not frequent places where controlled substances are illegally sold,
        used, distributed, or administered.
9.      The defendant shall not associate with any persons engaged in criminal activity, and shall
        not associate with any person convicted of a felony unless granted permission to do so by
        the probation officer.
10.     The defendant shall permit a probation officer to visit him or her at any time at home or
        elsewhere and shall permit confiscation of any contraband observed in plain view by the
        probation officer.
11.     The defendant shall notify the probation officer within seventy-two (72) hours of being
        arrested or questioned by a law enforcement officer.
12.     The defendant shall not enter into any agreement to act as an informer or a special agent
        of a law enforcement agency without the permission of the Court.
13.     As directed by the probation officer, the defendant shall notify third parties of risks that may
        be occasioned by the defendant’s criminal record or personal history or characteristics, and
        shall permit the probation officer to make such notifications and to confirm the defendant’s
        compliance with such notification requirement.
14.     The defendant shall pay the special assessment imposed or adhere to a court-ordered
        installment schedule for the payment of the special assessment.
15.     The defendant shall notify the probation officer of any material change in the defendant’s
        economic circumstances that might affect the defendant’s ability to pay any unpaid amount
        of restitution, fines, or special assessments.
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                          SPECIAL CONDITIONS OF SUPERVISION

The defendant shall participate in a substance abuse treatment program and shall abide by all
program requirements and restrictions, which may include testing for the detection of alcohol or
drugs of abuse at the direction and discretion of the probation officer. While under supervision, the
defendant shall not consume alcoholic beverages or any mood altering substances, which overrides
the ?no excessive use of alcohol” language in Standard Condition #7. The defendant shall not be
allowed to work at a tavern or to patronize taverns or any establishments where alcohol is the
principal item of sale. The defendant shall pay all or part of the costs for participation in the
program not to exceed the sliding fee scale as established by the Department of Health and Human
Services adopted by this court.

Based on a thorough review of the defendant’s financial condition as detailed in the presentence
report, the court finds that the defendant does not have the ability to pay a fine. The court will waive
the fine in this case.

It is further ordered that the defendant shall pay to the United States a total special assessment of
$100.00, which shall be due immediately.
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                              CRIMINAL MONETARY PENALTIES


       The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

      Total Assessment                        Total Fine               Total Restitution
             $100.00                               NONE                      NONE

        The defendant shall make the special assessment payment payable to Clerk, U.S. District
Court, 102 Robert A. Grant Courthouse, 204 South Main Street, South Bend, IN 46601. The
special assessment payment shall be due immediately.

                                                   FINE

        No fine imposed.

                                           RESTITUTION

        No restitution was ordered.
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                                         Name:     John Hodowaniac a/k/a John Hodowaniec

                                                             Docket No.:      3:12cr112-001


                     ACKNOWLEDGMENT OF SUPERVISION CONDITIONS


        Upon a finding of a violation of probation or supervised release, I understand that the
Court may (1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the
conditions of supervision.

        I have reviewed the Judgment and Commitment Order in my case and the supervision
conditions therein. These conditions have been read to me. I fully understand the conditions
and have been provided a copy of them.


        (Signed)
               ____________________________________              __________________
                 Defendant                                              Date


                ____________________________________             __________________
                 U.S. Probation Officer/Designated Witness              Date
